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HMK)BY_ "___Qc,
IN THE UNITED sTATEs DISTRICT COURT
FOR THE wESTERN DISTRICT OF TENNESSEE §
wEsTERN DIVISION GSAusao AH 7‘“5

 

Ma?gu.s.;lsmmcolm
W GF i:".§‘ i\"ii’.}‘.i;"‘HiS
KEVIN MILLEN,
Plaintiff,
vS. NO. 05-20lO-Ml/V
JUVENILE COURT, et a].. ,

Defendants.

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ORDER OF DI SMI SSAL

 

Plaintiff Kevin Millen filed a ppg sp complaint pursuant
to 42 U.S.C. § 1983 on January 6, 2005, along with a motion seeking
leave to proceed ig fp;ma pauperis. As the plaintiff's motion to
proceed ip fp;ma pauperis contained no information concerning his
monthly income, assets, and financial obligations, the Court issued
an order on May 11, 2005 denying leave to proceed ip fp;ma pauperis
and directing the plaintiff to pay the $150 civil filing fee within
thirty days. On May 24, 2005, plaintiff filed another mction,
entitled “Order Asking for Leave to Use In Forma Pauperis And Order
Directing Defendants to Pay Monetary funds [sic] Owed to
Plaintiff,” which the Court construed as a motion seeking
reconsideration of the decision denying leave to proceed ip §p;mp
pauperis. The Court issued an order On July 19, 2005 denying the
motion for reconsideration and advising the plaintiff that, “[i]f

the civil filing fee is not paid by August 5, 2005, this action

Thls document entered on the docket sheet fn comp!iance
with eula 58 and!or re(a) FHCP on f '_§Q-O@ §

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will be dismissed, Without prejudice, for failure to prosecute.”
07/19/05 Order at 2.

The date specified in the July 19, 2005 order has passed,
and the plaintiff has not paid the civil filing fee. Accordingly,
the Court DISMISSES the complaint Without prejudice, pursuant to
Fed. R. Civ. P. 4l(b), for failure to prosecute.

IT IS SO ORDERED this ¢éaq day of August, 2005.

.W< g

JO PHIPPS MCCALLA
ITED STATES DIS'I‘RIC'I` JUDGE

 

 

Notice of Distribution

This notice confirms a copy cf the document docketed as number 6 in
case 2:05-CV-020]0 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

Kevin Millen
4104 Stillwood Dr.
Memphis7 TN 38128

Honcrable Jon McCalla
US DISTRICT COURT

